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19                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
20
     MS. L, et al.,                             Case No. 18cv428 DMS MDD
21
                      Petitioners-Plaintiffs,
22                                              CONSENT MOTION FOR
           vs.                                  EXTENSION OF RESPONSE
23                                              DEADLINE
   U.S. IMMIGRATION AND CUSTOMS
24 ENFORCEMENT, et al.,
25
               Respondents-Defendants.
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 2         On July 16, 2018, Plaintiffs filed a Motion for Stay of Removal. At a status
 3 conference that same day, the Court ordered Defendants to file a response to that
 4
   motion on or before 9:00am PST on July 23, 2018. The parties have met and
 5
 6 conferred several times in an effort to resolve that motion without further action from
 7
     the Court. In order to allow those efforts to continue, Defendants seek a 24-hour
 8
     extension of their response deadline, until 9:00am PST on July 24, 2018. Counsel
 9
10 for Plaintiffs has stated that Plaintiffs do not oppose this request for extension.
11
     DATED: July 22, 2018                   Respectfully submitted,
12
13                                          CHAD A. READLER
                                            Acting Assistant Attorney General
14                                          SCOTT G. STEWART
                                            Deputy Assistant Attorney General
15
                                            WILLIAM C. PEACHEY
16                                          Director
                                            WILLIAM C. SILVIS
17
                                            Assistant Director
18
                                            /s/ Sarah B. Fabian
19
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 1                           CERTIFICATE OF SERVICE
 2 IT IS HEREBY CERTIFIED THAT:
 3       I, the undersigned, am a citizen of the United States and am at least eighteen
 4 years of age. My business address is Box 868, Ben Franklin Station, Washington
 5 DC 20044. I am not a party to the above-entitled action. I have caused service of
 6 the accompanying CONSENT MOTION FOR EXTENSION OF RESPONSE
 7 DEADLINE on all counsel of record, by electronically filing the foregoing with
 8 the Clerk of the District Court using its ECF System, which electronically provides
 9 notice.
10        I declare under penalty of perjury that the foregoing is true and correct.
11
          DATED: July 22, 2018                    s/ Sarah B. Fabian
12                                                Sarah B. Fabian
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